Case 3:12-cv-00360-RV-EI\/|T Document 1 Filed 07/23/12 Page 1 of 9

IN THE UNITE]) STATES DISTRICT COURT IN AND FOR THE NORTHERN

DISTRICT OF FLORIDA, PENSACOLA DIVISI()N

DANIEL HOFFMAN, as Personal
Representative of the Estate of
ANDREA M HOFFMAN, I)eceased,

Plaintiffs,

Case No.
-VS.-

ATLANTIC`COAST
CARRIERS, INC., a foreign
for profit corporation, and
TIMOTHY E. ODOM,

Defendants.

 

COMPLAINT

 

Plaintiff, DANIEL HOFFMAN, as Personal Representative of the Estate of
ANDREA M. HOFFMAN, Deoeased, by and through the undersigned attorneys sues the
Defendants, ATLANTIC COAST CARRIERS, INC., a foreign for profit corporation, and
TIMOTHY E. ODOM, and alleges the following:

STATEMENT GF .]URISDICTION

l. This is an action for damages Whieh exceeds the sum of seventy five thousand
($75,000.00) dollars, exclusive of attorneys fees, interests and costs.

2. Plaintiff, DANIEL HOFFMAN, as personal representative of the Estate of

ANDREA HOFFMAN, is a resident of the state of Michigan.

Case 3:12-cv-00360-RV-EI\/|T Document 1 Filed 07/23/12 Page 2 of 9

3. Defendant, ATLANTIC COAST CARRIERS, INC. is a foreign for profit
corporation vvith its principal business address located at 243 Alma Highvvay, Hazlehurst,
Georgia, 31539.

4. Defendant TIMO'['HY E. ODOM, Was at all times material an employee acting
Within the course and scope of his employment With Defendant ATLANTIC COAST
CARRIERS, INC. Defendant Tll\/IOTHY E. ODOl\/l, is an individual residing in the state of
Georgia With his principal residence address being 1711 Hatch Parkway North, Lot 5, Baxley,
Georgia 31513.

5. ln addition to the amount in controversy exceeding $75,000, there is complete
diversity of citizenship between the parties, therefore, pursuant to 28 U.S.C §1332, this court has
federal subject matter jurisdiction over this cause of action.

6. The events giving rise to this suit occurred in Walton County, Florida, therefore
venue is proper in the Northern District of Florida, Pensacola Division.

ALLEGATIONS COMMON TO ALL COUNTS

7. On or about February 23, 2012, the Defendant ATLANTIC C()AST CARRIERS,
INC., owned a commercial motor vehicle Which Was being operated With its permission,
knowledge and consent by Det`endant, TIMOTHY E. ODOM, on Interstate 10, near the city of
DeFuniak Springs in Walton County, Florida.

8. At the time and place aforementioned the Dei`endant TIMOTHY E. ODOM, so
negligently operated and maintained the ATLANTIC COAST CARRIERS, lNC. commercial
motor vehicle so as to cause it to come into violent contact With a motor vehicle operated by the
decedent ANDREA M. l-IOFFl\/IAN, at or near the exit/on-ramp to Interstate 10 at U.S. Highvvay

331 in Walton County, Florida.

Case 3:12-cv-00360-RV-EI\/|T Document 1 Filed 07/23/12 Page 3 of 9

9. At the time and place aforementioned, the Defendant, TIl\/[OTHY E. ODOM, had
a duty to operate the subject tractor-trailer With extreme caution pursuant to §392.14 of the
Fea’emf Motor Carrz'er Safety Adminisfmtion Regulafions.

10. As a result of the negligence of Defendant TIMOTHY E. ODOM, the
ATLANTIC COAST CARRLERS, INC., commercial motor vehicle Was negligently and
carelessly crossing U.S. Highvvay 331 in an unlawful and illegal fashion, creating an extremely
dangerous and highly hazardous situation.

11. As a direct result of the negligence of the Defendant TIMOTI-IY E. ODOl\/l, the
ATLANTIC COAST CARRIERS, fNC. commercial motor vehicle was caused to block U.S.
Highway 331 and directly caused a very serious and fatal collision to occur between the subject
commercial motor vehicle and the motor vehicle operated by the decedent, ANDREA M.
HOFFMAN.

12. At all times material hereto, the Defendant, TlMOTI-IY E. ODOM, Was an
employee in the course and scope of his employment With the Defendant, ATLANTIC COAST
CARRIERS, lNC.

13. At the time and place of the subject accident, the Defendant, TIMOTHY E.
ODOM, Was either an employee acting Within the course and scope of his employment With the
Defendant, ATLANTIC COAST CARRIERS, [NC. and/or Was an apparent agent acting Within
his actual and/or apparent authority of the Defendant, ATLANTIC COAST CARRIERS, INC.

14. At the time and place of the subject accident, the Defendant, TIMOTHY E.
ODOl\/l, Was performing his job duties given to him by the Defendant, ATLANTIC COAST

CARRIERS, INC.

Case 3:12-cv-00360-RV-EI\/|T Document 1 Filed 07/23/12 Page 4 of 9

15. At the time and place of the subject accident, the Defendant, ATLANTIC COAST
CARRIERS, INC. received a fmancial benefit as a result of the job duties and performance of the
Work given to the Defendant, TlMOT[-IY E. ODOM.

16. At the time and place of the subject accident, the Defendant, ATLANTIC COAST
CARRIERS, INC. was a registered owner of the subject commercial motor vehicle, tractor,
chassis, container and/or trailer.

17. At the time and place of the subject accident, the Defendant, TlMOTI-IY E.
ODOM, Was authorized and permitted to be operating the subject tractor-trailer and had been
given such authorization and permission by the Defendant, ATLANTIC COAST CARRIERS,
INC.

18. At the time and place of the subject accident, the Defendant, ATLANTIC COAST
CARRIERS, INC., Was vicariously liable for the actions and/or inactions of its employee, driver,
representative, agent and/or apparent agent, TIMOTHY E. ()DOM.

19. As a result of the negligence of the Defendant, TIMOTHY E. ODOM, and as a
direct result of the injuries sustained in the subject collision caused by the Defendant’s
negligence, the decedent, ANDREA l\/l. HOFFMAN, Was wrongfully killed.

20. This is an action brought pursuant to the provisions of the Florida Wrongful
Demh Acl', §768. 16 et. seq., Florida Statutes, for the Wrongful death of the decedent, ANDREA
M. HOFFMAN.

21. At ali times material hereto, the decedent, ANDREA M. HOFFMAN, Was the
natural mother of Haley Hoffman, a minor child.

22. Haley Hoffman is under the age of 18 and, pursuant to §768.18, Florida Statutes,

is classified as a survivor of the decedent, ANDREA M. HOFFMAN, on the date of her death.

Case 3:12-cv-00360-RV-EI\/|T Document 1 Filed 07/23/12 Page 5 of 9

23. The Plaintiff, DANIEL HOFFMAN, has been appointed Personal Representative
of the Estate of ANDREA l\/l. HOFFMAN, decedent, in Walton County, Florida. (A copy of the
Letters of Adininistration and Order Appointing Personal Representative are attached hereto as
Plaintift` s Exhibit “A”).

24. On the date of her death, February 23, 2012, the decedent, ANDREA M.
HOFFMAN, had the following statutory survivors: Spouse, DA_NIEL HOFFMAND and minor
child, HALEY HOFFMAN.

25. As a direct and proximate result of ANDREA M. HOFFMAN’ S Wrongful death,
the surviving spouse and minor child of ANDREA M. HOFFMAN, and her Estate have been
damaged as follows:

a. HALEY HOFFMAN has sustained devastating mental pain, anguish and
suffering from the date of the injury and death of her beloved mother,
ANDREA 1\/[. HOFFMAN, under such egregious circumstances, and she Will
continue to suffer devastating mental pain, anguish and suffering over the
injury and death of her mother as long as she lives. She has also sustained lost
parental companionship, instruction and guidance from the date of her
mother’s injury and death, and Will continue to suffer such losses for the
remainder of her life;

b. DANlEL HOFFl\/IAN, has sustained devastating mental pain, anguish and
suffering from the date of the injury and death of his beloved Wife, ANDREA
M. HOFFMAN, under such egregious circumstances, and he Will continue to
stiffer devastating mental pain, anguish and suffering over the injury and death
of his Wife as long as he lives. He has also sustained lost companionship,
support and services from ANDREA l\/l. HOFFMAN from the date of her
injury and death, and Will continue to suffer such losses for the remainder of
his life;

c. The family, surviving spouse and child and Estate have suffered funeral and
other medical expenses resulting from the Wrongful death of ANDREA M.
I-IOFFMAN;

d. The Estate and the surviving spouse and children of ANDREA M.
HOFFMAN have suffered the loss of support and services from the decedent
ANDREA l\/l. HOFFMAN, in the past and Will continue to suffer such loss
into the future, With interest;

Case 3:12-cv-00360-RV-EI\/|T Document 1 Filed 07/23/12 Page 6 of 9

e. The Estate and the surviving spouse and child have suffered the loss of the
prospective net accumulations of the decedent"s estate that were expected and
would have been accumulated by the decedent, ANDREA M. HOFFMAN,
but for her wrongful death.

26. At the time of the death of ANDREA l\/l. HOFFMAN, his surviving spouse and
minor child, and the appointed Personal Representative, DANIEL HOFFMAN, were residents of
the State of Michigan.

COUNT I - NEGLIGENCE OF TIMOTHY E. OD()M

27. The Plaintiff realleges and incorporates herein the allegations set forth in
paragraphs l through 26 as if fully set forth herein.

28. The Defendant, TIMOTHY E. ODOM, negligently operated the subject tractor-
trailer and caused the subject motor vehicle accident.

29. The Defendant, TIMOTHY E. ODOl\/l, was negligent in all of the following ways

and/ or aspects:

a. Failing to use extreme caution in the operation of the commercial motor
vehicle;

b. Failing to safely operate and/or drive the commercial motor vehicle and
failing to yield right-of~way;

c. Failing to properly operate the subject truck and failing to keep a proper
lookout;

d. Creating a dangerous, unsafe and hazardous condition by unlawfully crossing
over the lanes of travel of U.S. Highway 331 in the relevant conditions;

e. F ailing to advise other motorists that he would be crossing over U.S. Highway
331 before he illegally and unlawfully crossed over such road;

f. By unlawfully and illegally crossing over U.S. l-Iighway 331 in the relevant
conditions;

g. Failing to clear the entire area of U.S. Highway 331 before he illegally and
unlawfully crossed over such road;

Case 3:12-cv-00360-RV-EI\/|T Document 1 Filed 07/23/12 Page 7 of 9

h. Failing to exercise due care under all of the relevant circumstances;

i. Failing to bring his commercial motor vehicle to a complete stop at the subject
stop sign;

j. Negligently operating the subject tractor-trailer by failing to stop at the stop
sign and by illegally and unlawfully crossing over the subject lanes of U.S.
Highway 331 while attempting re-enter lnterstate 10, the same lnterstate
highway that he had just exited.
30. As a direct and proximate result of the negligence of the Defendant, TIMOTHY
E. ()DOM, the decedent ANDREA l\/l. HOFFMAN, was wrongfully killed and the decedent’s
Estate and surviving spouse and minor child have suffered losses and damages
WHEREFOR_E, the Plaintiff, DANIEL HOFFMAN, as Personal
Representative of the Estate of ANDREA l\/l. HOFFl\/[AN, deceased, hereby demands judgment
for compensatory damages, costs, prejudgment and post-judgment interest, and such other and
further relief as the Court may deem appropriate under the circumstances against the Defendants,
ATLANTIC COAST CARRIERS and TlMOTHY E. ODOM. Plaintiff further demands trial by
jury. Plaintiff hereby demands damages for the surviving spouse and minor child and the Estate
of ANDREA M. HOFFMAN. Plaintiff reserves the right to assert a claim for punitive damages
against the Defendants.
COUNT II - VICARIOUS LIABLITY OF ATLANTIC COAST CARRIERS, INC.
31. The Plaintiff realleges and reavers the allegations contained in paragraphs 1
through 26 as if fully set forth herein.
32. The Defendant, TIMOTHY E. ODOM, negligently operated the subject tractor-

trailer and caused the subject motor vehicle accident while acting within the course and scope of

his employment with the Defendant, ATLANTIC COAST CARRIERS, INC.

Case 3:12-cv-00360-RV-EI\/|T Document 1 Filed 07/23/12 Page 8 of 9

nn
.J..).

and/or aspects:

34.

The Defendant, TIMOTHY E. ODOM, was negligent in all of the following ways

h.

Failing to use extreme caution in the operation of the commercial motor
vehicle;

Failing to safely operate and/or drive the commercial motor vehicle and
failing to yield right-of-way;

Failing to properly operate the subject truck and failing to keep a proper
lookout;

Creating a dangerous, unsafe and hazardous condition by unlawfully crossing
over the lanes of travel of U.S. Highway 331 in the relevant conditions;

Failing to advise other motorists that he would be crossing over U.S. Highway
331 before he illegally and unlawfully crossed over such road;

By unlawfully and illegally crossing over U.S. Highway 331 in the relevant
COnditions;

Failing to clear the entire area of U.S. Highway 331 before he illegally and
unlawfully crossed over such road;

Failing to exercise due care under all of the relevant circumstances;

Failing to bring his commercial motor vehicle to a complete stop at the subject
stop sign;

Negligently operating the subject tractor-trailer by failing to stop at the stop
sign and by illegally and unlawfully crossing over the subject lanes of U.S.
Highway 331 while attempting re-enter lnterstate 10, the same lnterstate
highway that he had just exited

As a direct and proximate result of the negligence of the Defendant, TIMOTHY

E. ODOM, for which his employer Defendant ATLANTIC COAST CARRIERS, lNC. is

vicariously liable pursuant to the doctrine of respondeat superior, the decedent ANDREA l\/l.

HOFFMAN, was wrongfully killed and the decedent’s Estate and surviving spouse and minor

child have suffered losses and damages

Case 3:12-cv-00360-RV-EI\/|T Document 1 Filed 07/23/12 Page 9 of 9

WHEREFORE, the Plaintiff, DANIEL HOFFMAN, as Personal
Representative of the Estate of ANDREA M. HOFFMAN, deceased, hereby demands judgment
for compensatory damages, costs, prejudgment and post-judgment interest, and such other and
further relief as the Court may deem appropriate under the circumstances against the Defendants,
ATLANTIC COAST CARRlERS and TIMOTHY E. ODOM. Plaintiff further demands trial by
jury. Plaintiff hereby demands damages for the surviving spouse and minor child and the Estate
of ANDREA M. HGFFMAN. Plaintiff reserves the right to assert a claim for punitive damages

against the Defendants.

Respectfully submitted,

Perry & Young, P.A.

 

By:

 

Wnce Perry, Esquii<e

Flol‘ida Bar No. 059765
Les McFatter, Esquire
Florida Bal' No. 0147362

2612. W. 15th St

Panama City FL 324|]1
Phone:(SS{]) 215-7777
Fax:(850) 215-4777

Attorneys for Plaintiff

10

